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 5
      Attorney for Defendant Taj Thompson
 6
 7                                UNITED STATES DISTRICT COURT

 8                                       DISTRICT OF NEVADA

 9
10 UNITED STATES OF AMERICA,                            Case No. 2:16-cr-230-GMN-CWH

11                  Plaintiff,                          UNOPPOSED MOTION TO CONDUCT A
                                                        PRE-PLEA, PRE-SENTENCE
12          vs.                                         INVESTIGATION REPORT AND
                                                        PROPOSED ORDER
13 TAJ KEVON THOMPSON, et al,,
14                  Defendants.

15
16          This is Defendant Taj Thompson’s unopposed motion to conduct a pre-plea pre-sentence

17 investigation report.
18          On July 27, 2016, Mr. Thompson was charged by indictment with conspiracy to distribute a

19 controlled substance in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), and 846. The parties are
20 attempting to negotiate this case. A pre-plea investigation will aid in addressing unclear state court
21 dispositions as regards Mr. Thompson’s potential sentencing guideline calculation. Mr.
22 Thompson’s criminal history calculation and his sentencing guideline range will necessarily affect
23 the outcome and disposition of the case and/or potential negotiations. The parties are unable to
24 definitively determine Mr. Thompson’s sentencing guideline range without knowing his entire
25 criminal history and therefore a pre-plea pre-sentence investigation report is requested.
26          To satisfy Mr. Thompson’s concerns and to assure that he has the information he needs to

27 make a truly knowing and intelligent decision whether to accept or reject a plea offer, he has
28 requested that a pre-plea pre-sentence investigation report be completed. On June 19, 2017,
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 1 undersigned counsel conferred with the government, which does not oppose this motion. Trial in
 2 this matter is set for November 13, 2017.
 3          For the reasons stated above, Mr. Thompson respectfully requests that a pre-plea pre-

 4 sentence investigation report be conducted in this matter.
 5          DATED This 27th day of June, 2017.

 6                                               WOLF, RIFKIN, SHAPIRO,
                                                 SCHULMAN & RABKIN, LLP
 7
                                                 By:__/s/ Daniel J. Hill________________________
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 7                               UNITED STATES DISTRICT COURT

 8                                      DISTRICT OF NEVADA

 9
10 UNITED STATES OF AMERICA,                           Case No. 2:16-cr-230-GMN-CWH

11                 Plaintiff,                          ORDER

12          vs.

13 TAJ KEVON THOMPSON, et al,,
14                 Defendants.

15
16          Good cause appearing, the government having no opposition, and the best interests of justice

17 and judicial economy being served,
18          IT IS HEREBY ORDERED that Defendant Taj Kevon Thompson's Unopposed Motion

19 for Pre-Plea Presentence Investigation Report (ECF No. 114) is GRANTED.
20          IT IS FURTHER ORDERED that the U.S. Probation Office shall prepare and provide to

21 the Court by no later than August 28, 2017, a Pre-Plea Presentence Investigation Report with the
22 guideline calculation requested for Defendant Taj Kevon Thompson's criminal history only.
23
24
            DATED this ___
                        29 day of June, 2017.
25
                                                          ____________________________________
26                                                        GLORIA M. NAVARRO, CHIEF JUDGE
                                                          UNITED STATES DISTRICT COURT
27
28

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 1                             CERTIFICATE OF SERVICE
 2          I hereby certify that on this 27th day of June, 2017, a true and correct copy
 3 of UNOPPOSED         MOTION      TO    CONDUCT      A   PRE-PLEA,     PRE-SENTENCE
 4 INVESTIGATION REPORT AND PROPOSED ORDER was served via the United
 5 States District Court CM/ECF system on all parties or persons requiring notice.
 6
 7                                       By /s/ Jennifer Finley
                                            Jennifer Finley, an Employee of
 8
                                            WOLF, RIFKIN, SHAPIRO,
 9                                          SCHULMAN & RABKIN, LLP
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